                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re:
                                                      Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                    Case No. 19-54531-lsg

                                                      Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter

               Plaintiff,

v.

Joseph G. DuMouchelle and                             Adversary Pro. No. 20-04381
Melinda J. Adducci

         Defendants.

____________________________________/

              SECOND AMENDED COMPLAINT TO DETERMINE
                      NONDISCHARGEABILITY OF
                  INDEBTEDNESS UNDER 11 U.S.C. § 523

         Plaintiff Thomas T. Ritter (“Plaintiff”), by and through his attorneys, Taft,

Stettenius & Hollister, LLP brings this Second Amended Complaint to Determine

Nondischargeability of Indebtedness Under 11 U.S.C. § 523 (the “Complaint”)

against Joseph G. DuMouchelle (“Joseph”) and Melinda J. Adducci a/k/a Melinda

DuMouchelle (“Melinda”) (Joseph and Melinda are collectively, the “Debtors”) and




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in support thereof, states as follows:

                               Preliminary Statement

      1.     This Second Amended Complaint seeks a determination that certain

debts owed to Plaintiff by Debtors are non-dischargeable in the above-captioned

bankruptcy case pursuant to section 523 of title 11 of the United States Code (the

“Bankruptcy Code”).

                                     Jurisdiction

      2.     This Court has jurisdiction over the subject matter of this Second

Amended Complaint pursuant to 28 U.S.C. §§ 157(b)(1) and 1334(b).

      3.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

      4.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                     Background

      5.     Plaintiff is an individual who conducts business in Williams County,

North Dakota.

      6.     Joseph is an individual who previously conducted business at 251 E.

Merrill Street, Suite 236, Birmingham, Oakland County, Michigan and who,

according to the docket in this proceeding, resided at 1221 Bowers, #2595,

Birmingham, Oakland County, Michigan. Joseph is now incarcerated in a federal

prison.




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      7.     Melinda is an individual who previously conducted business at 251 E.

Merrill Street, Suite 236, Birmingham, Oakland County, Michigan and who,

according to the docket in this proceeding, resides at 1221 Bowers, #2595,

Birmingham, Oakland County, Michigan.

      8.     Joseph DuMouchelle Fine & Estate Jewellers, LLC (“DuMouchelle

Jewellers”) is a Michigan limited liability company which previously conducted

business at 251 E. Merrill Street, Suite 236, Birmingham, Oakland County,

Michigan.

      9.     Joseph, Melinda, and DuMouchelle Jewellers shall be collectively

referred to as “Borrowers.”

                                General Allegations

                                     The Notes

      10.    Plaintiff and Debtors have had a long-standing personal relationship

with Melinda’s brother being Plaintiff’s brother-in-law and Plaintiff having had a

close friendship and business relationship with Melinda’s father for at least 25 years

before his passing.

      11.    Debtors approached Plaintiff, requesting that Plaintiff loan funds to

Debtors, to enable Debtors to acquire jewelry items, for resale.




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          12.   To that end, Debtors transmitted a letter to Plaintiff on January 20, 2014

affirming that they were in good financial standing and did not have any liens or

judgments against them (the “January 2014 Financial Statement”). Exhibit 24.

          13.   Based on the Debtors’ business and financial records, together with

Debtors’ then ongoing business operations, the January 2014 Financial Statement

was false when made. On and after publication of the January 2014 Financial

Statement, Debtors’ withheld payments to various customers whose consigned

goods had, in fact, been sold, advising the customers the goods had not, in fact, been

sold, in order to artificially prop up the Debtors’ business operations and cash flow,

or not making promised payments under promissory notes or other extensions of

credit.

          14.   In furtherance of this relationship, and in reliance on the January 2014

Financial Statement Plaintiff agreed to and did loan the Debtors $350,000.00.

          15.   Debtors executed a Promissory Note, in favor of Plaintiff, dated

February 12, 2014, in the principal amount of $350,000.00, which was executed by

Debtors on February 19, 2014 (the “350,000 Note”). Exhibit 1.

          16.   Per the terms of the $350,000 Note, in furtherance of the representation

that the proceeds of the $350,000 Note would be used to purchase jewelry items,

Debtors agreed, upon demand, to grant a lien on jewelry items purchased, equal to

150% of the $350,000 Note balance.



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      17.    Despite this agreement and request by Plaintiff for a lien, no lien was

ever granted.

      18.    Debtors, at the time of making this agreement, had no present intention

of abiding by its terms.

      19.    Per the terms of the $350,000 Note, the principal indebtedness due

thereunder, together with accrued but unpaid interest, was due and payable on

August 18, 2014.

      20.    No payment was made on the $350,000 Note.

      21.    In discussing the payment due under the $350,000 Note, Debtors

represented that they had purchased and re-sold jewelry items in furtherance of the

$350,000 Note transaction, resulting in an $80,000 “profit” to Plaintiff.

      22.    Unable to pay the $430,000 then due to Plaintiff, Debtors represented

that they could engage in further jewelry purchases, to which Plaintiff could receive

a share of the profits, if Plaintiff “rolled over” the amounts then due to him.

      23.    Debtors therefore requested that Plaintiff forgo payment under the

$350,000 Note and the alleged $80,000 “profit” and roll the total sum of $430,000

into additional alleged purchases, to be represented in a new note.

      24.    A new note dated for August 12, 2014 but executed on November 7,

2014 was executed by Joseph in favor of Plaintiff, in the principal amount of

$430,000 (the “$430,000 Note”). Exhibit 2.



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      25.    In executing the $430,000 Note, Melinda was not relieved for her

obligations under the $350,000 Note for both principal and interest.

      26.    Debtors, at the time of proposing and entering into the $430,000 Note,

had no present intention of acquiring jewelry items or otherwise abiding by the

repayment terms of the $430,000 Note.

      27.    Debtors negotiated for extensions of the principal payments due under

the $430,000 Note twice yearly in 2015 through 2017 each with no present intention

of abiding by the terms of the extensions, as is evident, by among other things, failure

to have met the payment terms of each of these extension periods.

      28.    On May 16, 2017, a Renewed and Extended Promissory was executed,

with a due date of November 16, 2017 (the “May 16, 2017 Extension”).

      29.    A condition of the May 16, 2017 Extension was the payment of the

principal amount of $430,000, plus interest of $64,500.00, on or before November

16, 2017 (the “May 16, 2017 Extension Payment”).

      30.    Following the May 16, 2017 Extension, Debtors’ made a single

payment of $64,500.00 on September 26, 2017.

      31.    The September 26, 2017 payment of $64,500.00 was the last payment

the Debtors ever made on the $430,000 Note.

      32.    Debtors defaulted in their payment of the May 16, 2017 Extension

Payment.



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      33.    Debtors had no present intention, when made, of abiding by the May

16, 2017 Extension or to make the May 16, 2017 Extension Payment.



      34.    On or about January 17, 2018, Joseph executed and delivered to

Plaintiff a Renewed and Extended Promissory Note, effective November 16, 2017,

in the amount of $430,000 plus accrued but unpaid interest (the “January 17, 2018

Extension”). Exhibit 3.

      35.    A condition of the January 17, 2018 Extension was the payment of the

principal amount of $430,000, plus accrued interest, on or before May 16, 2018 (the

“January 17, 2018 Extension Payment”).

      36.    Debtors had no present intention, when made, of abiding by the January

17, 2018 Extension or to make the January 17, 2018 Extension Payment.

      37.    Defaults continued to arise under the terms of the January 17, 2018

Extension and the $350,000 Note, which remained uncured.

      38.    Debtors never produced any evidence to Plaintiff that any jewelry items

had been acquired with the proceeds loaned to Debtors under the $350,000 Note.

      39.    Debtors never produced any evidence to Plaintiff that jewelry items had

been re-sold, resulting in an alleged $80,000 “profit” to Plaintiff.




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      40.   Debtors never produced any evidence to Plaintiff that any jewelry items

had been acquired and/or re-sold, as contemplated under the $430,000 Note, the May

16, 2017 Extension or the January 17, 2018 Extension.

      41.   Plaintiff initiated suit against Debtors in the Williams County District

Court, Northwest Judicial District, State of North Dakota, on September 16, 2019,

styled as Thomas T. Ritter v. Joseph DuMouchelle, Melinda Adducci a/k/a Melinda

DuMouchelle and Joseph DuMouchelle Fine & Estate Jewellers, LLC, Case No. 53-

2019-CV-01186 (the “North Dakota Suit”).

      42.   In the North Dakota Suit, the Court issued Findings of Fact,

Conclusions of Law, and Order for Judgment on September 16, 2019 (the “North

Dakota Judgment”). Exhibit 4.

      43.   Per the North Dakota Judgment, judgment was entered against Debtors

in the amount of $725,817.01, representing the principal and interest unpaid and

owing under the $350,000 Note, the $430,000 Note, the May 16, 2017 Extension

and the January 17, 2018 Extension, as of September 11, 2019 (the “North Dakota

Note Judgment Amount”). Id.

                                The Yellow Rose

      44.   In early 2019, while communicating with Debtors regarding amounts

due under the $350,000 Note, the $430,000 Note, the May 16, 2017 Extension and




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the January 17, 2018 Extension, Debtors informed Plaintiff of a possible new

“investment opportunity.”

      45.    Specifically, Debtors stated that there was an estate sale pending in

Texas that included a 77.12 carat yellow diamond ring, coined “The Yellow Rose.”

      46.    Prior to January 25, 2019, Melinda mailed to Plaintiff a “data package”

with pictures and information related to The Yellow Rose.

      47.    Melinda provided Plaintiff with photos and descriptive information of

The Yellow Rose, by email, on January 25, 2019 (the “January 25, 2019 Email”).

Exhibit 5.

      48.    Melinda, also pursuant to the January 25, 2019 Email, provided

Plaintiff with photos and information of comparable diamonds, to support the

alleged valuation of The Yellow Rose. Id.

      49.    On January 28, 2019, Joseph sent to Plaintiff an email, proposing that

The Yellow Rose be purchased for $12,500,000 and be sold to a private buyer within

the next week to ten days for $16,500,000. Id.

      50.    On January 28, 2019, Plaintiff requested by email an appraisal of The

Yellow Rose. Id.

      51.    On January 28, 2019, Plaintiff was sent via email an alleged January

31, 2011 “appraisal” of The Yellow Rose. Id.




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        52.   Melinda was asked by Plaintiff whether Melinda felt The Yellow Rose

transaction would be a way for both Plaintiff and Debtors to make some good money,

to which Melinda responded with a positive “yes.”

        53.   Pursuant to a letter agreement dated January 31, 2019, Plaintiff and

Joseph agreed that Plaintiff would be the purchaser of The Yellow Rose, in his name,

from the seller, for $12 million and Joseph would facilitate the subsequent sale of

The Yellow Rose on Plaintiff’s behalf (the “Yellow Rose Purchase Agreement”).

Exhibit 6.

        54.   Per the Yellow Rose Purchase Agreement, an escrow account was to

be established at Plaintiff’s bank by Plaintiff, into which the $12 million would be

funded and from which the purchase price of The Yellow Rose would be paid, by

Plaintiff, upon receipt by Joseph, as agent for Plaintiff, of The Yellow Rose. Id.

        55.   Per the Yellow Rose Purchase Agreement, upon receipt of The Yellow

Rose, Joseph, as Plaintiff’s agent, represented that he would store The Yellow Rose

at a Brinks facility in Detroit, Michigan and obtain insurance over the same. Id.

        56.   The Yellow Rose Purchase Agreement stated that the profit from the

sale was to be divided between Plaintiff and Joseph, per a sliding scale. Id.

        57.   Debtors had no present intention of abiding by any of the agreements

of Debtors set forth in the Yellow Rose Purchase Agreement, at the time they were

made.



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      58.    In the course of returning the Yellow Rose Purchase Agreement to

Debtors on January 31, 2019, Plaintiff sent a cover email to both Joseph and

Melinda, inquiring whether Melinda should be added as a party to the Yellow Rose

Purchase Agreement; that if a correction was needed, to advise Plaintiff; and that it

was not Plaintiff’s intention to leave Melinda out or lessen her part in the transaction,

as Plaintiff knew Melinda’s skill and expertise in the gemology field was at the top.

Exhibit 7.

      59.    Pursuant to an email dated January 31, 2019, Joseph represented that

proceeds were needed to purchase The Yellow Rose (the “January 31, 2019 Email”)

(Exhibit 8) and provided the following wiring information:

      Bank Name:                                      MB Financial Bank
      Account Name:                                   Highland Wealth Management
      Bank Routing Number:                            071001737
      Account Number:                                 XXXXX79802

      60.    Joseph represented in the January 31, 2019 Email that Highland Wealth

Management was the seller of The Yellow Rose. Id.

      61.    On February 1, 2019, Plaintiff initiated a wire transfer to the MB

Financial Bank account noted, on behalf of Highland Wealth Management.

      62.    The wire transfer was not accepted into the MB Financial Bank

account.

      63.    The MB Financial Bank account was not the bank account of the seller

or of the seller representative of The Yellow Rose.


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      64.    Highland Wealth Management was not the seller or the seller

representative of The Yellow Rose.

      65.    Pursuant to an email dated February 1, 2019 (the “February 1, 2019

Email”) (Exhibit 9), Joseph directed Plaintiff to wire the $12 million to the

following new account of the seller (the “FineMark Account”):

      Bank Name:                                    FineMark Bank & Trust
      Account Name:                                 Fine & Estate Appraisers, LLC
      Bank Routing Number:                          067016231
      Account Number:                               XXXXX46380

      66.    Joseph represented that the FineMark Account was the account of Fine

& Estate Appraisers, LLC, with the wiring instructions being provided by the seller

or the seller agent of The Yellow Rose, Richard Drucker, based on the February 1,

2019 Email containing the above information under an email allegedly authored by

Richard Drucker and forwarded to Joseph. Id.

      67.    On February 4, 2019, Plaintiff initiated a wire transfer to the FineMark

Account.

      68.    Plaintiff was advised that FineMark Bank could not accept a wire of

that size and the funds were remitted back to Plaintiff on February 5, 2019.

      69.    The FineMark Account was not the bank account of the seller or of the

seller representative of The Yellow Rose.

      70.    Richard Drucker was not the seller or the seller representative of The

Yellow Rose.


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      71.    Fine & Estate Appraisers, LLC, was not the seller or the seller

representative of the Yellow Rose.

      72.    Pursuant to an email dated February 6, 2019 (the “February 6, 2019

Email”) (Exhibit 10), Joseph directed Plaintiff to instead wire the $12 million to the

following new account of the seller of The Yellow Rose (the “Bank of America

Account”):

      Bank Name:                                      Bank of America
      Account Name:                                   Fine & Estate Appraisers, LLC
      Bank Routing Number:                            0260009539
      Bank Account Number:                            XXXXX60585

      73.    Joseph represented that the Bank of America Account was the account

of Fine & Estate Appraisers, LLC, with the wiring instructions being provided by

the seller or of the seller agent of The Yellow Rose, Richard Drucker allegedly of

Gemguide, based on the February 6, 2019 Email containing the above information

under an email allegedly authored by Richard Drucker of Gemguide and forwarded

to Joseph. Id.

      74.    On February 6, 2019, Plaintiff initiated a wire transfer to the Bank of

America Account in reliance on Joseph’s false representations about the name of the

account owner.

      75.    The Bank of America Account was not the bank account of the seller

or of the seller representative of The Yellow Rose.




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      76.      Richard Drucker was not the seller or the seller representative of The

Yellow Rose.

      77.      The Bank of America Account was not the account of Fine & Estate

Appraisers, LLC. See, Bank of America Account Statement. Exhibit 11.

      78.      The Bank of America Account was the account of DuMouchelle

Jewellers. Id.

      79.      The wire instructions set forth on Exhibits 9 and 10, containing

forwarding information from Richard Drucker were fictitious emails, created by

Debtors.

      80.      Joseph provided Plaintiff with a receipt from Joseph DuMouchelle

International Auctioneers, dated February 6, 2019, allegedly evidencing the

purchase of The Yellow Rose for $12 million (the “The Yellow Rose Purchase

Receipt”). Exhibit 12.

      81.      The Yellow Rose Purchase Receipt was a fictitious document, created

by Debtors.

      82.      The $12 million wired into the Bank of America Account was not used

to purchase The Yellow Rose. Instead, the proceeds were disbursed as follows:

      Withdrawals and other debits
      Date     Description                                     Amount

      02/06/19 Legal Order, LTS D020519000761                    -375.00
      02/06/19 Legal Order Fee,LTS D020519000761                            -125.00
      02/07/19 Legal Order, LTS D020519000761                 -178,277.71
      02/07/19 AZ TLR transfer to CHK 9238                             -4,250,000.00
      02/07/19 AZ TLR transfer to CHK 4272                               -150,000.00
      02/07/19 AZ TLR transfer to CHK 9238                               -117,000.00




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       02/07/19 Customer Withdrawal Image                                     -4,041,925.00
       02/07/19 Customer Withdrawal Image                                     -1,091,769.44
       02/07/19 Customer Withdrawal Image                                        -39,000.00
       02/08/19 Legal Order, LTS D020819000362                       -651,169.26
       02/08/19 WIRE TYPE:WIRE OUT DATE:190208 TIME:                   -4,920.00
       1141 ET TRN:2019020800254267 SERVICE
       REF:007173 BNF:STEVE OLSON ID:374889 BNF BK:LEGACY
       BANK ID:10 2103106 PMTDET:GDR6C52GF Goods
       02/08/19 MI TLR transfer to CHK 3693                                         -100.00
       02/12/19 WIRE TYPE:WIRE OUT DATE:190211 TIME:0521 ET         -2,114,765.00
       02/12/19 CHECK #0000000000                                     -180,000.00
       02/12/19 WIRE TYPE:WIRE OUT DATE:190211 TIME:1032 ET            -25,912.19


Exhibit 11.

       83.      On February 7, 2019, Melinda, under her signature, caused “Out of

State Counter Withdrawals” to occur, in the amounts of $39,000.00, $1,091,769.44

and $4,041,925.00 each (a total of $5,172,694.44) as indicated on the documents

attached as Exhibit 13.

       84.      Just prior to the $12 million wire transfer into the Bank of America

Account, the Bank of America Account balance was $500. Exhibit 11.

       85.      Based on The Yellow Rose Purchase Receipt, Plaintiff was induced by

Debtors to believe that Debtors had purchased The Yellow Rose and that they were

holding it for the benefit of Plaintiff.

       86.      Joseph represented to Plaintiff that The Yellow Rose would be moved

from the Brinks depository in Texas to the Brinks depository in Michigan, to be held

in the joint names of Plaintiff and Joseph, although at all times owned by Plaintiff.

       87.      Debtors’ representation that a transfer of The Yellow Rose occurred

between the Brinks depository in Texas and the Brinks depository in Michigan was

false, as The Yellow Rose had never been acquired.



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       88.    Notwithstanding the lack of acquisition of The Yellow Rose, Joseph

represented that Joseph and Melinda were actively promoting the sale of The Yellow

Rose. The Debtors went as far as to say that the intended purchaser of The Yellow

Rose would be professional boxer Floyd Mayweather, Jr.

       89.    In March, 2019, Joseph represented to Plaintiff that he had found a

buyer interested in The Yellow Rose, that the buyer would purchase The Yellow

Rose and that the proceeds of the sale of The Yellow Rose would be transmitted

directly to Plaintiff.

       90.    Based on this representation, Plaintiff prepared a draft agreement in

conformity with this understanding and sent the same to Joseph on March 21, 2019

(the “Draft Sale Agreement”). Exhibit 14.

       91.    Joseph, as agent for Plaintiff, entered into a letter agreement date April

12, 2019, for the subsequent sale of The Yellow Rose for $16.5 million to Sam

Haggin, Trustee of the Jennifer H. Rands Trust, which was signed by Joseph, with

Debtors impersonating and providing the forged signature of a fictitious person, Sam

Haggin, on April 19, 2019 (the “April 12, 2019 Letter Agreement”). Exhibit 15.

       92.    Per the April 12, 2019 Letter Agreement, the sale was to be

consummated by April 22, 2019.

       93.    The April 12, 2019 Letter Agreement was a forged and fictitious

document.



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        94.   The Jennifer H. Rands Trust never agreed to purchase The Yellow

Rose.

        95.   Sam Haggin never signed the April 12, 2019 Letter Agreement.

        96.   The Yellow Rose was never sold to the Jennifer H. Rands Trust, as it

had never been purchased by Debtors.

        97.   On April 21, 2019, the day before the alleged closing under the April

12, 2019 Letter Agreement, Plaintiff traveled to Detroit, in order to view The Yellow

Rose at the Brinks depository on April 22, 2019, where it allegedly resided pending

the closing and transfer to the Jennifer H. Rands Trust.

        98.   Joseph represented that his contact at the Brinks depository was on

vacation and that he therefore could not gain access to show Plaintiff The Yellow

Rose on April 22, 2019.

        99.   In an email dated February 7, 2019, Joseph made false representations

suggesting that The Yellow Rose was transferred from a Brinks facility located in

Texas the Detroit Brinks facility for storage and that access was not available on

April 22, 2019. Exhibit 16.

        100. The Brinks depository was open on April 22, 2019 and anyone could

have provided access, had The Yellow Rose actually existed at the Brinks

depository.

        101. Debtors have failed to return any portion of the $12 million to Plaintiff.



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        102. After Debtors’ supposed resale of The Yellow Rose, Debtors each

participated in a continuing scheme to conceal (a) the true disposition of the $12

million, (b) that the Plaintiff’s funds were never used to purchase The Yellow Rose,

and (c) that Debtors never resold The Yellow Rose for $16.5 million.

        103. In May of 2019, Debtors both participated in several phone

conversations with Plaintiff wherein they promised to wire an initial $2 million of

The Yellow Rose sale proceeds received (the “May, 2019 Discussions”).

        104. These discussions were confirmed in an email from Plaintiff to Joseph

and Melinda, dated May 13, 2019 (the “May 13, 2019 Email”). Exhibit 17.

        105. Neither Joseph nor Melinda initiated the promised $2 million wire

payment to Plaintiff.

        106. The representations made to Plaintiff by Debtors with respect to the

forwarding of the first $2 million of The Yellow Rose proceeds were false when

made.

        107. After the May 13, 2019 Email, Debtors ignored all inquiries by

Plaintiff, by phone, as to the status of remittance of The Yellow Rose sale proceeds.

        108. Plaintiff’s inquiries are confirmed in emails from Plaintiff to Joseph and

Melinda, dated June 10, 2019 (the “June 10, 2019 Email”) and June 21, 2019 (the

“June 21, 2019 Email”). Exhibit 18 and Exhibit 19.




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      109. Subsequently, Debtors each ignored Plaintiff’s June 2019 emails

inquiring about his investment in The Yellow Rose.

      110. On June 27, 2019, Plaintiff had a telephone call with Debtors, wherein

Debtors represented that full payment would be made to Plaintiff by July 2, 2019

(the “June 27, 2019 Phone Call”).

      111. This is confirmed in an email from Plaintiff to Joseph and Melinda

dated July 2, 2019 (the “July 2, 2019 Email”). Exhibit 20.

      112. The representations made to Plaintiff by Debtors as to full payment by

July 2, 2019 were false when made.

      113. As part of the North Dakota Action, Plaintiff sought judgment against

Debtors related to The Yellow Rose transaction.

      114. Pursuant to the North Dakota Judgment, judgment was entered against

Debtors and DuMouchelle Jewellers, jointly and severally, in the amount of

$16,413,214.61, representing the original $12 million plus costs, commission and

interest (the “North Dakota Yellow Rose Judgment Amount”).

      115. In rendering the North Dakota Yellow Rose Judgment, the following

findings of fact were made:


      [¶14] Defendant Adducci, who is DuMouchelle’s spouse, also spoke to Ritter
regarding purchase of The Yellow Rose and indicated it would be a lucrative
investment for all of the parties. Defendant Adducci provided Ritter with photos
and appraisal information regarding The Yellow Rose by email on January 25, 2019.
Compl., ¶ 16.


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       [¶22] . . . The Defendants have further refused to communicate truthfully with
Ritter regarding the location of The Yellow Rose or any details regarding the
purchase and subsequent sale of The Yellow Rose or provide an accounting detailing
the specific use of the funds transmitted by Ritter. Id.

Exhibit 4.


      116. In rendering the North Dakota Judgment, the following conclusions of

law were made:


      [¶32] Defendant Adducci also spoke to Ritter regarding purchase of The
Yellow Rose and indicated it would be a lucrative investment for all of the parties.
Defendant Adducci provided Ritter with photos and appraisal information regarding
the Yellow Rose by email on January 25, 2019.
       [¶41] . . . The Defendants have further refused to communicate truthfully with
Ritter regarding the location of The Yellow Rose or any details regarding the
purchase and subsequent sale of The Yellow Rose or provide an accounting detailing
the specific use of the funds transmitted by Ritter.
Id.

      117. Debtors failed to defend the North Dakota suit, so the above findings

of fact and conclusions of law are binding on Debtors and specifically, Melinda.



                                  The Criminal Action

      118. On June 16, 2020, a Criminal Information was filed against Joseph (the

“Information”), relating to The Yellow Rose transaction, in the United States District

Court for the Eastern District of Michigan, Case No. 2:20-cr-20245 (the “Criminal

Proceeding”). Exhibit 21.




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      119. On September 14, 2020, pursuant to a Rule 11 Plea Agreement,

Plaintiff entered a plea of guilty as to Count 1 of the Information. Exhibit 22.

      120. Per Count 1 of the Information, Joseph “by means of false and

fraudulent material promises, pretenses and representations:” “instructed [Plaintiff]

to transfer $12,000,000 for the purchase of the Yellow Rose”, “falsified documents

and emails making it appear that the account the money would be wired to was in

fact the seller’s”, “sent the false information to [Plaintiff] with directions to wire the

money to the account with a notation that it was for the benefit of the seller

represented by [Richard Drucker]”, “sent [Plaintiff] a fraudulent receipt making it

appear that the Yellow Rose had been purchased” and “caused the transmission of

wire communications in interstate commerce in the form of an interstate wire

transfer of funds in the amount of $12,000,000 from [Plaintiff’s] bank account in

Chandler, Arizona (sic) Dumouchelle’s Bank of America account in Bloomfield

Hills, Michigan.” Exhibit 21.

      121. On July 28, 2022, the court issued its Judgment in a Criminal Case

against Joseph, under which a criminal monetary penalty in favor of Plaintiff was

assessed in the amount of $12 million, restitution in this same amount was ordered

in favor of Plaintiff, Joseph was ordered to pay a forfeiture money judgment to the

United States in the amount of $12 million and Joseph was sentenced to 151 months

of incarceration. Exhibit 23.



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                      Count I – 11 U.S.C. §523(a)(2)(A)
              False Pretenses, False Representations and Actual
          Fraud Regarding The $350,000 Note, the $430,000 Note, the
          May 16, 2017 Extension and the January 17, 2018 Extension

       122. Plaintiff incorporates the provisions of paragraphs 1 through 116 above,

as if specifically set forth herein.

       123. Debtors induced Plaintiff to enter into the $350,000 Note and make the

initial advance of $350,000.00 thereunder under false pretenses.

       124. Debtors had no present or future intent, at the time of entering into the

$350,000 Note, of repaying the obligations thereunder.

       125. Debtors had no present or future intent, at the time of entering into the

$350,000 Note, of granting a lien on any jewelry items, as collateral security for the

obligations owing under the $350,000 Note, having failed to grant such a lien.

       126.   Debtors represented that they had purchased and re-sold jewelry items,

resulting in an $80,000 “profit” to Plaintiff, when, in fact no jewelry items had been

purchased and no $80,000 “profit” had been realized in connection with the

$350,000 Note.

       127. Debtors represented to Plaintiff that the fictitious $350,000 of sale

proceeds and alleged $80,000 “profit” should be rolled into a subsequent note, in

order to permit Debtors to generate additional “profit” for Plaintiff and Debtors,

when in fact the $350,000 had been utilized for other purposes and no $80,000

“profit” existed.


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      128. Debtors’ inducement in causing Plaintiff to enter into the $430,000

Note was based on Debtors’ fraud.

      129. At the time of proposing and entering into the $430,000 Note, Debtors

had no present intention of acquiring jewelry items for the benefit of Plaintiff or

otherwise abiding by the repayment terms of the $430,000 Note.

      130. Debtors’ negotiations of extensions of the payments due under the

$430,000 Note twice yearly in 2015 through 2017 were undertaken with no present

intention of abiding by the terms of the extensions.

      131. Debtors’ inducement in causing Plaintiff to enter into the January 17,

2018 Extension was based on Debtors’ fraud.

      132. At the time of proposing and entering into the January 17, 2018

Extension, Debtors had no present intention of acquiring jewelry items for the

benefit of Plaintiff or otherwise abiding by the repayment terms of the January 17,

2018 Extension.

      133. Debtors never produced any evidence to Plaintiff that any jewelry items

had been acquired with the proceeds loaned to Debtors under the $350,000 Note, the

$430,000 Note, the May 16, 2017 Extension or the January 17, 2018 Extension.

      134. Debtors never produced any evidence to Plaintiff that jewelry items had

been re-sold, resulting in an alleged $80,000 “profit” to Plaintiff.




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       135. The foregoing actions preclude a discharge of the North Dakota Note

Judgment Amount and amounts due under the $350,000 Note, the $430,000 Note,

the May 16, 2017 Extension and the January 17, 2018 Extension, pursuant to 11

U.S.C. §523(a)(2)(A), on the basis that the funds advanced and the extensions

granted were money, property, services, or an extension, renewal or refinancing of

credit obtained by false pretenses, false representations, and actual fraud, other than

statements regarding Debtors’ financial position.

                      Count II – 11 U.S.C. §523(a)(2)(B)
              False Pretenses, False Representations and Actual
          Fraud Regarding The $350,000 Note, the $430,000 Note, the
          May 16, 2017 Extension and the January 17, 2018 Extension

       136. Plaintiff incorporates the provisions of paragraphs 1 through 130 above,

as if specifically set forth herein.

       137. The January 2014 Financial Statement was a statement in writing with

respect to the Debtors’ financial condition.

       138. According to the Debtors’ financial records, together with Debtors’

then ongoing business operations, the January 2014 Financial Statement was

materially false when made.

       139. Plaintiff relied on the 2014 Financial Statement when he agreed to the

$350,000 Note, the $430,000 Note, the May 16, 2017 Extension and the January 17,

2018 Extension.




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       140. The Debtors caused the 2014 Financial Statement to be made with

intent to deceive Plaintiff.

       141. The Debtors’ 2014 Financial Statement induced Plaintiff into extending

credit to the Debtors under the $350,000 Note, the $430,000 Note, the May 16, 2017

Extension and the January 17, 2018 Extension.

       142. The Debtors are liable under the $350,000 Note, the $430,000 Note and

the North Dakota Note Judgment Amount.

       143. The foregoing actions preclude a discharge of the North Dakota Note

Judgment Amount and amounts due under the $350,000 Note, the $430,000 Note,

the May 16, 2017 Extension and the January 17, 2018 Extension, pursuant to 11

U.S.C. §523(a)(2)(B), on the basis that the funds advanced were money, property,

services, or an extension, renewal or refinancing of credit obtained by use of a

writing respecting Debtors’ financial condition, that was materially false, upon

which Plaintiff relied and that Debtors caused to be made and/or published with the

intent to deceive Plaintiff.

                       Count III – 11 U.S.C. §523(a)(2)(A)
                     False Pretenses, False Representations
                  and Actual Fraud Regarding The Yellow Rose

       144. Plaintiff incorporates the provisions of paragraphs 1 through 138 above,

as if specifically set forth herein.




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      145. Debtors’ representation that they could purchase The Yellow Rose for

$12 million was false, upon which Plaintiff relied, causing damages to Plaintiff.

      146. Debtors’ representation that they could sell The Yellow Rose for

between $16 million and $20 million was false, upon which Plaintiff relied, causing

damages to Plaintiff.

      147. Debtors’ representation that Plaintiff would be the purchaser of The

Yellow Rose was false, upon which Plaintiff relied, causing damages to Plaintiff.

      148. Debtors’ representation that Joseph would act as an agent in arranging

for the purchase of The Yellow Rose was false, upon which Plaintiff relied, causing

damages to Plaintiff.

      149. Melinda’s representations that the purchase of The Yellow Rose and its

subsequent sale would be a lucrative investment for all parties was false, upon which

Plaintiff relied, causing damages to Plaintiff.

      150. Melinda’s act of providing Plaintiff with photos and appraisal

information of The Yellow Rose was undertaken with the intent to induce Plaintiff

into entering into a transaction related to The Yellow Rose, upon which Plaintiff

relied, causing damages to Plaintiff.

      151. The Yellow Rose Purchase Agreement was drafted and presented to

Plaintiff with the intent to induce Plaintiff into entering into The Yellow Rose

Purchase Agreement, upon which Plaintiff relied, causing damages to Plaintiff.



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      152. Debtors had no present or future intent, at the time of entering into the

Yellow Rose Purchase Agreement of ever purchasing or reselling The Yellow Rose.

      153. The January 31, 2019 Email contained fictitious information, delivered

with the intent that Plaintiff rely on upon it, upon which Plaintiff relied, causing

damages to Plaintiff.

      154. Joseph’s representation that the MB Financial Account was the account

of the seller of The Yellow Rose was a false statement, upon which Plaintiff relied,

causing damages to Plaintiff.

      155. The February 1, 2019 Email contained fictitious information, delivered

with the intent that Plaintiff rely upon it, upon which Plaintiff relied, causing

damages to Plaintiff.

      156. The February 4, 2019 Email contained fictitious information, delivered

with the intent that Plaintiff rely upon it, upon which Plaintiff relied, causing

damages to Plaintiff.

      157. Debtors falsely represented that the FineMark Bank Account was the

bank account of the seller of The Yellow Rose, upon which Plaintiff relied, causing

damages to Plaintiff.

      158. Joseph’s direction to Plaintiff to wire transfer funds to the Bank of

America Account was undertaken with the intent to cause harm to Plaintiff, upon

which Plaintiff relied, causing damages to Plaintiff.



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       159. Debtors misrepresented that the Bank of America Account was the

bank account of the seller of The Yellow Rose, upon which misrepresentation

Plaintiff relied, causing damages to Plaintiff.

       160. Debtors misrepresented that the Bank of America Account was the

bank account of Fine & Estate Appraisers, LLC, when it was, in fact, the bank

account of DuMouchelle Jewellers, upon which Plaintiff relied, causing damages to

Plaintiff.

       161. The Richard Drucker Email was a fictitious email, created by Debtors,

with the intent that Plaintiff would rely upon the same, upon which Plaintiff relied,

causing damages to Plaintiff.

       162. The Yellow Rose Purchase Receipt was a fictitious document, created

by Debtors with the intent that Plaintiff would rely upon the same, upon which

Plaintiff relied, causing damages to Plaintiff.

       163. The $12 million wired into the Bank account of Plaintiff, contrary to

Debtors’ representations, was not used to purchase The Yellow Rose, upon which

Plaintiff relied, causing damages to Plaintiff.

       164. Plaintiff was induced by Debtors to believe that Debtors, in fact, had

purchased The Yellow Rose, when in fact they had not, causing damage to Plaintiff.




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        165. Joseph represented that The Yellow Rose had been transferred from the

Brinks depository in Texas to the Brinks depository in Detroit, which representation

was false, upon which Plaintiff relied, causing damages to Plaintiff.

        166. Joseph’s representation that Debtors had found a buyer for The Yellow

Rose, that the buyer would purchase The Yellow Rose and that the proceeds

resulting from the sale of The Yellow Rose would be transmitted to Plaintiff were

false, upon which Plaintiff relied, causing damages to Plaintiff.

        167. Based on Debtors’ representations, Plaintiff was induced into drafting

the Draft Sale Agreement (which, in fact, was unnecessary, as there was no

purchaser for The Yellow Rose), upon which Plaintiff relied, causing damages to

Plaintiff.

        168. The April 12, 2019 Letter Agreement was a fictitious document,

presented to Plaintiff to represent that the Yellow Rose had been sold, when, in fact,

it had not, upon which Plaintiff relied, causing damages to Plaintiff.

        169. The April 12, 2019 Letter Agreement was a forgery, created by

Debtors.

        170. The Jennifer H. Rands Trust never agreed to purchase The Yellow

Rose.

        171. Sam Haggin never signed the April 12, 2019 Letter Agreement.




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       172. Joseph’s representation on April 22, 2019 that The Yellow Rose was

stored at the Brinks facility in Detroit, that access could not be provided to Plaintiff

for inspection purposes because Debtors’ contact was on vacation were false, upon

which Plaintiff relied, causing damages to Plaintiff.

       173. The May, 2019 Discussions, the May 13, 2019 Email, the June 10, 2019

Email, the June 21, 2019 Email, the June 27, 2019 Phone Call and the July 2, 2019

Email all represent actions taken by Debtors, to withhold and falsify information,

create forbearances, defraud, influence adversely and otherwise deter Plaintiff from

taking action to recover amounts due to him by Debtors.

       174. The foregoing actions preclude a discharge of the North Dakota Yellow

Rose Judgment Amount, pursuant to 11 U.S.C. §523(a)(2)(A) on the basis that per

the above described facts, the funds advanced and the extensions granted were

money, property, services, or an extension, renewal or refinancing of credit obtained

by false pretenses, false representations, and actual fraud, other than statements

regarding Debtors’ financial position.

                       Count IV – 11 U.S.C. §523(a)(2)(B)
                     False Pretenses, False Representations
                  and Actual Fraud Regarding The Yellow Rose

       175. Plaintiff incorporates the provisions of paragraphs 1 through 169 above,

as if specifically set forth herein.




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       176. The January 2014 Financial Statement was a statement in writing with

respect to the Debtors’ financial condition.

       177. According to the Debtors’ financial records The January 2014 Financial

Statement was materially false when made.

       178. Plaintiff relied on the 2014 Financial Statement when he agreed to enter

into The Yellow Rose transaction with the Debtors.

       179. The Debtors caused the 2014 Financial Statement to be made with

intent to deceive Plaintiff.

       180. The Debtors’ 2014 Financial Statement induced Plaintiff into entering

into The Yellow Rose transaction with the Debtors.

       181. The Debtors are liable for The Yellow Rose Judgment Amount that

resulted from The Yellow Rose transaction.

       182. The foregoing actions preclude a discharge of the North Dakota Yellow

Rose Judgment Amount, pursuant to 11 U.S.C. §523(a)(2)(B), on the basis that per

the above described facts, the funds advanced were money, property, services, or an

extension, renewal or refinancing of credit obtained by use of a writing respecting

Debtors’ financial condition, that was materially false, upon which Plaintiff relied

and that Debtors caused to be made and/or published with the intent to deceive

Plaintiff.

                          Count IV – 11 U.S.C. §523(a)(4)
                           Fraud or Defalcation While


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              Acting in a Fiduciary Capacity, Embezzlement and
              Larceny Regarding the $350,000 Note, the $430,000
     Note, the May 16, 2017 Extension and the January 17, 2018 Extension

       183. Plaintiff incorporates the provisions of paragraphs 1 through 167 above,

as if specifically set forth herein.

       184. Under the terms of the $350,000 Note, the $430,000 Note, the May 16,

2017 Extension and the January 17, 2018 Extension, Debtors agreed to undertake

certain fiduciary duties to Plaintiff, including using the proceeds advanced under the

foregoing documents to purchase to be identified pieces of jewelry, upon which a

lien would be granted in Plaintiff’s favor and to otherwise abide by the duties

imposed upon them as fiduciaries under the terms of the foregoing documents.

       185. Debtors breached each and every one of the fiduciary duties imposed

on them under the terms of the foregoing documents, including, but not limited to,

in failing to use the proceeds advanced under the foregoing documents to purchase

to be identified pieces of jewelry, upon which a lien would be granted in Plaintiff’s

favor, in diverting the proceeds advanced under the foregoing documents for their

own personal benefit and purpose and in failing to account and repay Plaintiff and

to otherwise abide by the duties imposed upon them as fiduciaries under the terms

of the foregoing documents.

       186. Debtors engaged in embezzlement and larceny, in taking the proceeds

advanced under the foregoing documents and using them for purposes other than as



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specified under the terms of the foregoing documents, with a present and continuing

intent to do so, in order to convert the same for their own personal benefit and

purpose.

       187. The foregoing actions preclude a discharge of the North Dakota Note

Judgment Amount and amounts due under the $350,000 Note, the $430,000 Note,

the May 16, 2017 Extension and the January 17, 2017 Extension, pursuant to 11

U.S.C. §523(a)(4), on the basis of fraud and defalcation while acting in a fiduciary

capacity, embezzlement and larceny.

                      Count V – 11 U.S.C. §523(a)(4)
              Fraud or Defalcation While Acting in a Fiduciary
      Capacity, Embezzlement and Larceny Regarding The Yellow Rose

       188. Plaintiff incorporates the provisions of paragraphs 1 through 172 above,

as if specifically set forth herein.

       189. With respect to The Yellow Rose transaction, Debtors agreed to

undertake certain fiduciary duties to Plaintiff, including, but not limited to, acquiring

The Yellow Rose, placing title to The Yellow Rose in Plaintiff’s sole name, using

the proceeds loaned by Plaintiff solely for the purchase of The Yellow Rose, storing

The Yellow Rose, undertaking to sell The Yellow Rose and transferring the proceeds

of sale of The Yellow Rose to Plaintiff and to otherwise abide by the duties imposed

upon them as fiduciaries, as more fully set forth in oral representations of Debtors

and in the January 25, 2019 Email, the Yellow Rose Purchase Agreement, the



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January 31, 2019 Email, the February 2, 2019 Email, the February 4, 2019 Email,

the Richard Drucker Email, The Yellow Rose Purchase Receipt, the April 12, 2019

Letter Agreement, the May, 2019 Discussions, the May 13, 2019 Email, the June 10,

2019 Email, the June 21, 2019 Email, the June 27, 2019 Phone Call and the July 2,

2019 Email.

      190. Debtors breached each and every one of the fiduciary duties imposed

on them under the terms of the foregoing representations and documents, including,

but not limited to, in failing to use the $12 million to purchase The Yellow Rose and

to otherwise abide by the duties imposed upon them as fiduciaries under the terms

of the foregoing representations and documents.

      191. Debtors engaged in embezzlement and larceny, in taking the $12

million and using it for purposes other than as specified under the terms of the oral

representations and written agreements, with a present and continuing intent to do

so, in order to convert the same for their own personal benefit and purpose.

      192. The foregoing actions preclude a discharge of the North Dakota Yellow

Rose Judgment Amount, pursuant to 11 U.S.C. §523(a)(4), on the basis of fraud and

defalcation while acting in a fiduciary capacity, embezzlement and larceny.

                         Count VI – 11 U.S.C. §523(a)(6)
                           Willful and Malicious Injury
           to Plaintiff and to Plaintiff’s Property Regarding the Note




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       193. Plaintiff incorporates the provisions of paragraphs 1 through 177 above,

as if specifically set forth herein.

       194. Debtors’ above-described acts regarding the $350,000 Note, the

$430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

constitute willful acts.

       195. Debtors’ above-described acts regarding the $350,000 Note, the

$430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

constitute malicious acts.

       196. Debtors’ above-described acts regarding the $350,000 Note, the

$430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

caused willful injury to Plaintiff.

       197. Debtors’ above-described acts regarding the $350,000 Note, the

$430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

caused malicious injury to Plaintiff.

       198. Debtors’ above-described acts regarding the $350,000 Note, the

$430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

constituted willful injury to Plaintiff’s property.

       199. Debtors’ above-described acts regarding the $350,000 Note, the

$430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

caused malicious injury to Plaintiff’s property.



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       200. The foregoing actions preclude a discharge of the North Dakota Note

Judgment Amount and amounts due under the $350,000 Note, the $430,000 Note,

the May 16, 2017 Extension and the January 17, 2018 Extension, pursuant to 11

U.S.C. §523(a)(6), on the basis of willful and malicious injury to Plaintiff and to

Plaintiff’s property.

                           Count VII - 11 U.S.C. §523(a)(6)
                       Willful and Malicious Injury to Plaintiff
                and to Plaintiff’s Property Regarding The Yellow Rose

       201. Plaintiff incorporates the provisions of paragraphs 1 through 185 above,

as if specifically set forth herein.

       202. Debtors’ above-described acts regarding The Yellow Rose constitute

willful acts.

       203. Debtors’ above-described acts regarding The Yellow Rose constitute

malicious acts.

       204. Debtors’ above-described acts regarding The Yellow Rose caused

willful injury to Plaintiff.

       205. Debtors’ above-described acts regarding The Yellow Rose caused

malicious injury to Plaintiff.

       206. Debtors’ above-described acts regarding The Yellow Rose constituted

willful injury to Plaintiff’s property.




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       207. Debtors’ above-described acts regarding The Yellow Rose caused

malicious injury to Plaintiff’s property.

       208. The foregoing actions preclude a discharge of the North Dakota Yellow

Rose Judgment Amount, pursuant to 11 U.S.C. §523(a)(6), on the basis of willful

and malicious injury to Plaintiff and to Plaintiff’s property.

                                 Count VIII
 Melinda’s Vicarious Liability under 11 §§523(a)(2)(A), (a)(2)(B), (4), (6) and
    (13) Regarding The Yellow Rose and the $350,000 Note, the $430,000
   Note, the May 16, 2017 Extension and the January 17, 2018 Extension

       209. Plaintiff incorporates the provisions of paragraphs 1 through 193 above,

as if specifically set forth herein.

       210. Melinda knew or should have known that the above-described acts of

Joseph and/or DuMouchelle Jewellers were fraudulent and criminal.

       211. Melinda deliberately participated in and/or knew or should have known

Joseph’s conduct to obtain $12 million from Plaintiff for the purported purchase of

The Yellow Rose was fraudulent and criminal when she sent an email to Plaintiff

with photos, an appraisal and information related to The Yellow Rose, in conjunction

with the potential investment opportunity.

       212. Melinda was a signatory on the Bank of America account of

DuMouchelle Jewellers.

       213. Melinda deliberately participated in and/or knew or should have known

Joseph’s conduct was fraudulent and criminal when she withdrew at least


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$5,172,694.44 of Plaintiff’s $12 million from the Bank of America Account a day

after the Debtors induced Plaintiff to wire $12 million to the account under false

pretenses.

      214. Melinda deliberately participated in, and/or knew or should have

known, Joseph’s above-described conduct was fraudulent and criminal when she

participated in phone calls with Plaintiff and Joseph, wherein the parties discussed

the investment opportunity in the purchase and resale of The Yellow Rose.

      215. Melinda deliberately participated in, and/or knew or should have

known, Joseph’s above-described conduct was fraudulent and criminal when she

participated in phone calls where she either actively misled or allowed Joseph to

mislead Plaintiff to believe a resale of The Yellow Rose actually took place,

including, but not limited to, the May, 2019 Discussions, the June 27, 2017 Phone

Call and as evidenced by Melinda’s receipt and failure to respond to communications

from Plaintiff, including, but not limited to, the May 13, 2019 Email, the June 20,

2019 Email, the June 21, 2019 Email and the July 2, 2019 Email.

      216. Melinda’s refusal to testify under oath as to Joseph’s fraudulent and

criminal conduct evidences that Melinda knew or should have known Joseph’s

above-described conduct was fraudulent and criminal.

      217. As to Melinda, the foregoing actions vicariously preclude a discharge

of the North Dakota Note Judgment Amount, amounts due under the $350,000 Note,



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the $430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

as well as the North Dakota Yellow Rose Judgment Amount, pursuant to 11 U.S.C.

§§523(a)(2), (4), (6) and (13).

      218. As to Melinda, the foregoing actions vicariously preclude a discharge

of the North Dakota Note Judgment Amount, amounts due under the $350,000 Note,

the $430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

as well as the North Dakota Yellow Rose Judgment Amount pursuant to 11 U.S.C.

§523(a)(2)(A), on the basis that per the above described facts, Melinda knew or

should have known that the funds advanced and the extensions granted were money,

property, services, or an extension, renewal or refinancing of credit obtained by false

pretenses, false representations, and actual fraud, other than statements regarding

Debtors’ financial position.

      219. As to Melinda, the foregoing actions vicariously preclude a discharge

of the North Dakota Note Judgment Amount, amounts due under the $350,000 Note,

the $430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

as well as the North Dakota Yellow Rose Judgment Amount pursuant to 11 U.S.C.

§523(a)(2)(B), on the basis that per the above described facts, Melinda knew or

should have known the funds advanced were money, property, services, or an

extension, renewal or refinancing of credit obtained by use of a writing respecting

Debtors’ financial condition, that was materially false, upon which Plaintiff relied



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and that Debtors caused to be made and/or published with the intent to deceive

Plaintiff.

       220. As to Melinda, the foregoing actions vicariously preclude a discharge

of the North Dakota Note Judgment Amount, amounts due under the $350,000 Note,

the $430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

as well as the North Dakota Yellow Rose Judgment Amount, pursuant to 11 U.S.C.

§523(a)(4), where Melinda knew or should have known Joseph had was engaging

and had engaged in fraud and defalcation while acting in a fiduciary capacity,

embezzlement and larceny.

       221. As to Melinda, the foregoing actions vicariously preclude a discharge

of the North Dakota Note Judgment Amount, amounts due under the $350,000 Note,

the $430,000 Note, the May 16, 2017 Extension and the January 17, 2018 Extension

as well as the North Dakota Yellow Rose Judgment Amount, pursuant to 11 U.S.C.

§523(a)(6) where Melinda knew or should have known that Joseph was engaging in

and had engaged in willful and malicious injury to Plaintiff and to Plaintiff’s

property.

       222. As to Melinda, the foregoing actions vicariously preclude a discharge

of $12 million as a matter of law pursuant to 11 U.S.C. §523(a)(13) where Melinda

knew or should have known that she and Joseph engaged in criminally fraudulent

conduct which has become subject to a criminal conviction of Joseph and a



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restitution liability determination in favor of Plaintiff, in the amount of $12 million.

       WHEREFORE Plaintiff respectfully requests that the Court enter an Order:

(i) finding the North Dakota Note Judgment Amount, amounts due under the

$350,000 Note, the $430,000 Note, the May 16, 2017 Extension and the January 17,

2018 Extension, the North Dakota Note Judgment Amounts as well as the North

Dakota Yellow Rose Judgment Amount are nondischargeable as to each of Debtors

and vicariously nondischargeable as to Melinda, under section 523 of the Code and

(ii) grant Plaintiff all other relief that it deems appropriate.



                                   Respectfully submitted by:

                                   TAFT STETTENIUS & HOLLISTER, LLP

Dated: March 6, 2023               By: /s/ Jay L. Welford
                                   Jay L. Welford (P34471)
                                   Kimberly Ross Clayson (P69804)
                                   Counsel to Plaintiff
                                   27777 Franklin Road, Suite 2500
                                   Southfield, Michigan 48034
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                                   kclayson@taftlaw.com




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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re:
                                                       Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                     Case No. 19-54531-lsg

                                                       Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter

               Plaintiff,

v.

Joseph G. DuMouchelle and                              Adversary Pro. No. 20-04381
Melinda J. Adducci

         Defendants.

____________________________________/

                            CERTIFICATE OF SERVICE

         I hereby certify that on March 6, 2023, my office caused to be served a copy

of the Second Amended Complaint To Determine Nondischargeability Of

Indebtedness Under 11 U.S.C. § 523 and this Certificate of Service using the Court’s

electronic filing system which will send notice to all ECF participants registered to

receive notice.




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                                Respectfully submitted by:

                                TAFT STETTENIUS & HOLLISTER, LLP

Dated: March 6, 2023            By: /s/ Jay L. Welford
                                Jay L. Welford (P34471)
                                Kimberly Ross Clayson (P69804)
                                Counsel to Plaintiff
                                27777 Franklin Road, Suite 2500
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